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IN THE UNITED sTATEs DISTRICT coURT "qEJWL _m__ind
FoR THE WESTERN DIsTRIcT oF TENNEssEE
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AcH soon coMPANIEs, INc., QEY&USDEUKHCOMH
WNRMSMVB

Plaintiff,
v. No. 04-2589 Ml/v

WIscoN coRP.,

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Defendant.

 

ORDER DENYING DEFENDANT'S MDTION TO DISMISS FOR LACK OF
JURISDICTION AND VENUE

 

Before the Court is Defendant’s Motion to Dismiss for Lack
of Jurisdiction and Venue, filed September 15, 2004. Plaintiff
filed a partial response to Defendant's motion on October lB,
2004. On November 16, 2004, the Court granted Plaintiff’s motion
for Rule 56(£) discovery related to issues underlying Defendant's
motion to dismiss. After limited discovery was taken, Plaintiff
filed another response to Defendant’s motion on February l, 2005.
Defendant filed a reply to Plaintiff's response on February 16,
2005. Plaintiff filed a sur-reply on March 24, 2005. For the
following reasons, Defendant's motion is DENIED.l
I. BACKGROUND

The instant case is a declaratory judgment action pursuant

to 28 U.S.C. § 2201 by which Plaintiff seeks a declaration of

 

1 Leave is hereby GRANTED for the parties to file their
respective responses.

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non-infringement regarding certain trademarks held by Defendant.
Plaintiff ACH Food Companies, Inc. {“ACH”), a Delaware
corporation with its principal place of business in Memphis,
Tennessee, is the “leading value-added edible oils and specialty
grocery product company in North America.” (Pl.’s Compl. T 6.)
ACH has multiple plants across the United States and markets a
broad range of products to consumers and the commercial food
industry. (Id. T 7.) Defendant Wiscon Corp. (“Wiscon”), an
Illinois corporation with its principal place of business in Lake
Forest, Illinois, is a distributor of, inter alia, CAPUTO brand
foods in the United States.

Wiscon owns U.S. Trademark Registration Nos. 2,464,986,
l,?63,053, and 2,009,696, which all relate to the CAPUTO brand.
(Def.'s Mot. to File Am. Decl. Ex. Ex. A.) Wiscon has used the
CAPUTO mark on a variety of food products, including oils, wine,
olives, barbecue sauce, canned tomatoes and tomato sauces,
shortening, cheeses, vinegar, pasta, meats and spices.

In May of 2004, ACH acquired certain food brands including
CAPULLO, the leading premium canola oil brand in Mexico, and
MAZOLA, a premium corn oil brand in Mexico. (Pl.’s Compl. T ?.)
ACH had previously acquired the MAZOLA corn oil brand in the
United States. (Id. I 8.) According to the allegations in its
Complaint, ACH plans to, and is in the process of, marketing a
canola oil in the United States under the brand name “CAPULLO DE

MAZOLA.” (Id.) ACH owns the “CAPULLO DE MAZOLA” word mark and a

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design mark that features the name “CAPULLO DE MAZOLA” along with
an image of a rosebud above the letters ‘pu' in ‘CAPULLO'. (Id.
I 9.) ACH has filed “intent to use” trademark applications for
the “CAPULLO DE MAZOLA” marks. (Id.) Also, according to the
allegations in Plaintiff's Complaint:

ACH has used the CAPULLO DE MAZOLA Marks for canola oil
in the United States commerce by way of, inter alia,
the preparation of samples and communications with one
or more potential customers. In addition, ACH is
ready, willing and able to use the CAPULLO DE MAZOLA
Marks as a brand name in United States commerce. For
example, ACH has undertaken extensive preparations to
launch United States sales of canola oil under the
CAPULLO DE MAZOLA Marks in the near future.

(Id. I lO.)

On July 26, 2004, JoAnne Denison, counsel for Wiscon, sent
an e~mail to certain representatives of ACH in Tennessee

regarding the prospective use of the CAPULLO DE MAZOLA trademark.
That e-mail notes, in pertinent part:

We not [sic] that on July 13, 2004, you filed a
trademark application for registration for CAPULLO DE
MAZOLA for “edible oils, shortening and margarine.” We
have reviewed your specimens and must inform you that
unless the words “DE MAZOLA” are used in substantially
the same size type face size as CAPULLO, we consider
this only to be blatant gamesmanship to trade off of a
highly valuable mark which our client has prior rights
to. We are not amuzed. [sic] We do intent [sic] to
file an opposition proceeding against this mark, if and
when it is published for opposition. We also desire to
make you aware at this time that further legal action
may be undertaken if and when you begin use of any mark
containing the word CAPULLO which we consider to be
conflicting with our CAPUTO trademark.

(Def.'s Reply Mem. in Supp. of Mot. to Dismiss, Ex. A.)

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On July 30, 2004, Plaintiff filed its Complaint seeking a
declaratory judgment of non-infringement. On September l5r 2004,
Defendant filed its original motion to dismiss. On November 4,
2004, after Plaintiff had begun to manufacture and sell products
bearing the “CAPULLO DE MAZOLA” markr Plaintiff filed a second
Complaint for declaratory relief, seeking to moot any issues
relating to the Court's subject matter jurisdiction. (See AQ§
,Food Companies, Inc. v. Wiscon Corn., No. 04-2892, W.D. Tenn.
filed on Nov. 4, 2004.) On January 27, 2005, the Court
consolidated the two cases into the instant case. (See Order
Consolidating Cases, January 27, 2005 (Docket No. 74.))2

In its Complaint, ACH requests a declaration that it has the
right to use the CAPULLO DE MAZOLA marks in United States
Commerce; a declaration that ACH's use of the CAPULLO DE MAZOLA
marks in United States commerce does not infringe or otherwise
violate any valid trademark rights of Wiscon; and any other legal
or equitable relief to which it may be entitled. (Pl.’s Compl. I
21.)

Defendant moves to dismiss Plaintiff's Complaint pursuant to
Federal Rule of Civil Procedure lZ(b)(l} for lack of subject

matter jurisdiction, Rule l2(b)(2) for lack of personal

 

2 Because Defendant's original motion to dismiss related to
the Court's subject matter jurisdiction, however, Case No. 04-
2892 was not administratively closed and remains open pending the
Court’s ruling on the instant motion. (See January 27, 2005,
Order Consolidating Cases at l.)

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jurisdiction, 28 U.S.C. § 1391 for improper venue, and Rule
12(b}(6} for failure to state a claim upon which relief may be
granted.

II. STANDARDS OF REVIEW

The Court will address the respective standards of review
pertinent to Defendant's motion in turn.

A. Rule 12(b)(1)

Federal Rule of Civil Procedure 12(b)(l) allows a party to
move to dismiss a claim for lack of subject matter jurisdiction.
Fed. R. Civ. P. 12(b)(1). “A Rule 12(b)(1) motion can either
attack the claim of [subject matter] jurisdiction on its face
or it can attack the factual basis for [subject matter]
jurisdiction ....” DLX. Inc. v. Kentuckv, 381 F.3d 511, 516 (6th
Cir. 2004).

In the instant case, the Court finds that Defendant attacks
the factual basis for jurisdiction ~ in particular, whether the
relevant facts support Defendant's contention that no justiciable
controversy exists involving any alleged trademark infringement.
When a Rule 12(b)(1} motion attacks the factual basis for subject
matter jurisdiction, “the trial court must weigh the evidence and
the plaintiff bears the burden of proving that jurisdiction
exists.” QL§, 381 F.3d at 516 (citing, inter alia, RMI Titanium
Co. v. Westindhouse Elec. Corp., 78 F.3d 1125, 1133-35 (6th Cir.
1996)}. In reviewing a Rule 12(b}(1) motion challenging the

factual basis for jurisdiction, “a trial court has wide

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discretion to allow affidavits, documents and even a limited
evidentiary hearing to resolve disputed jurisdictional facts."
Ohio Nat. Life Ins. Co. v. United States, 922 F.Zd 320, 325 (6th
Cir. 1990). If a court determines that it lacks subject matter
jurisdiction, “the court shall dismiss the action.” Fed. R. Civ.
P. 12(h)(3).

In the instant case, both parties have attached exhibits to
their submissions, including affidavits and other documents
relevant to the disposition of Defendant’s motion. The Court,
utilizing its discretion to allow the presentation of such
materialsr has reviewed those materials submitted by the parties
in support of their respective contentions. The Court finds that
neither the submission of additional materials nor a limited
evidentiary hearing would aid the Court in the resolution of
Defendant's motion.

B. Rule 12(b)(2)

Federal Rule of Civil Procedure 12(b)(2) permits dismissal
of a claim for lack of jurisdiction over the person. The
plaintiff bears the burden of establishing jurisdiction.
Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir. 1991).
Absent an evidentiary hearing on the issue of personal
jurisdiction, the plaintiff “need only make a prima facie showing
of jurisdiction.” Bird v. Parsons, 289 F.3d 865, 871 (6th Cir.
2002)(quoting Neogen Corp. v. Neo Gen Screening, Inc., 282 F.3d

883, 887 (6th Cir. 2002)). A prima facie showing of jurisdiction

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may be established based upon the plaintiff's presentation of

specific facts, by affidavit or otherwise. Theunissen, 935 F.2d

 

at 1458. Where a court does not conduct an evidentiary hearing,
the pleadings, depositions, and affidavits are considered in the
light most favorable to the plaintiff. Williams v. FirstPlus
Home Loan Trust 1996-2, 209 F.R.D. 404, 410 {W.D. Tenn. 2002).
In its determination of a 12(b)(2) motion, the Court “does
not weigh the controverting assertions of the party seeking
dismissal.” Theunissen, 935 F.2d. at 1459. The Court, however,
is not required “to ignore undisputed factual representations of
the defendant which are consistent with the representations of
the plaintiffF Kerrv Steel. Inc. v. Paradon Indus., Inc., 106
F.3d 147, 153 (6th Cir. 1997). “Dismissal in this procedural
posture is proper only if all the specific facts which the
plaintiff ... alleges collectively fail to state a prima facie

case for jurisdiction.” Id. at 149 (quoting Theunissen, 935 F.Zd

at 1458).

C. Rule 12(b)(6)

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure 12(b)(6). Fed. R. Civ. P. 12(b)(6).

When considering a Rule 12(b)(6) motion, a court must treat all
of the well-pleaded allegations of the complaint as true. Saylor
v. Parker Seal Co., 975 F.2d 252, 254 (6th Cir. 1992).

Furthermore, the court must construe all of the allegations in

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the light most favorable to the non~moving party. Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974). “A court may dismiss a [claim
under 12(b)(6)] only if it is clear that no relief could be
granted under any set of facts that could be proved consistent
with the allegations.” Hishon v. King & Spalding, 467 U.S. 69,
73 (1984).
III. ANALYSIS

Defendant moves to dismiss Plaintiff’s Complaint pursuant to
Rule 12(b)(1) for lack of subject matter jurisdiction, Rule
12(b)(2) for lack of personal jurisdiction, 28 U.S.C. § 1391 for
improper venue and Rule l2(b)(6) for failure to state a claim
upon which relief may be granted. The Court will address these
contentions in turn.

A. Subject Matter Jdrisdiction

Defendant first contends that this Court lacks subject
matter jurisdiction over Plaintiff’s declaratory judgment action
because Plaintiff's Complaint fails to allege a justiciable
controversy under the Declaratory Judgment Act, 28 U.S.C. § 2201.
The Declaratory Judgment Act allows Federal courts to entertain

declaratory judgment actions. 28 U.S.C. § 2201.3 “The existence

 

3 28 U.s.c. § 2201(a) provides:

In a case of actual controversy within its
jurisdictionr ... any court of the United States,
upon the filing of an appropriate pleading, may
declare the rights and other legal relations of any
interested party seeking such declaration, whether

(continued...)

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of an ‘actual controversy' in a constitutional sense is necessary
to sustain jurisdiction under the Declaratory Judgment Act.”
National Rifle Ass'n of America v. Magaw, 132 F.3d 272, 279 (6th
Cir. 1997)(citations omitted); see also 28 U.S.C. § 2201. A
justiciable controversy is “distinguished from a difference or
dispute of a hypothetical or abstract character .... lt must be a
real and substantial controversy admitting of specific relief
through a decree of a conclusive character, as distinguished from
an opinion advising what the law would be upon a hypothetical
state of facts. ld; (quoting Aetna Life Ins. Co. of Hartford v.
Haworth, 300 U.S. 227, 240-41 (1937)). For a declaratory
judgment to issue, there must be a dispute which “calls, not for
an advisory opinion upon a hypothetical basis, but for an
adjudication of present right upon established facts.” A§hgggf;
v. Mattis, 431 U.S. 171, 172 (1977) {citations omitted).

The plaintiff bears the burden of establishing subject
matter jurisdiction. Ihguni§§§n, 935 F.2d at 1458. In deciding
whether the plaintiff has carried its burden to show that a
justiciable controversy existsr “the court must look to the state
of affairs as of the filing of the complaint; a justiciable

controversy must have existed at that time.” International

 

(...continued)

or not further relief is or could be sought. Any such declaration
shall have the force and effect of a final judgment or decree and
shall be reviewable as such.

28 U.S.C. § 2201(a).

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Harvester Co. v. Deere & Co., 623 F.2d 1207, 1210 (7th Cir.
1980); see also Harper v. AutoAlliance Intern., Inc., 392 F.3d
195, 210 (6th Cir. 2004)(noting that whether subject matter
jurisdiction exists is determined by looking to the complaint at
the time a petition for removal was filed).

In the context of an action for a declaratory judgment of
non-infringement of a trademark, there are two prerequisites for
establishing that an “actual controversy” exists.4 Windsurfing
Intern. Inc. v. AMF Inc., 828 F.2d 755, 757-58 (Fed. Cir. 1987);
see also International Harvester Co. v. Deere & Co., 623 F.2d
1207, 1210-11 (7th Cir. 1980){finding identical reguirements`
apply in patent cases).5 First, the declaratory plaintiff must
have a real and reasonable apprehension of litigation.
Windsurfing, 828 F.2d at 757-58 (citing Topp-Cola Co. v. Coca-
Cola Co., 314 F.2d 124, 125-26 (2nd Cir. 1963)); ln;e;natignal
Harvester, 623 F.2d at 1210~11 (citations omitted); s§§_al§g

Robin Products Co. v. Tomecek, 465 F.2d 1193, 1195-96 (6th Cir.

1972)(finding a justiciable controversy based upon declaratory

 

4 Both parties cite authority from the United States Court
of Appeals for the Seventh Circuit regarding the requirements to
establish an actual controversy in the context of a declaratory
judgment action involving intellectual property. The Court finds
the reasoning of the Seventh and Federal Circuits persuasive and
adopts their precedents in the instant case.

5 The United States Court of Appeals for the Federal Circuit
has found that declaratory judgment actions involving trademark
cases are analogous to those involving patent cases and,
therefore, that the same precedents apply regarding issues of
subject matter jurisdiction. Windsurfing, 828 F.2d at 757.

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plaintiff showing that defendant’s course of action would be
“regarded by a reasonable man as a charge of [patent]
infringement and was so regarded by the party seeking declaratory
relief”). Second, the declaratory plaintiff must have engaged in
a course of conduct which brought it into adversarial conflict
with the declaratory defendant. Windsurfin , 828 F.2d at 757-58
(citations omitted); International Harvester, 623 F.2d at 1210-11
(citing Sweetheart Plastics, Inc. v. Illinois Tool Works, Inc.,
439 F.2d 871, 875 (1st Cir. 1971) and Wemblev. lnc. v. Superba
Cravatsc Inc., 315 F.2d 87, 89-90 (2d Cir. 1963)).

Defendant contends that the Court lacks subject matter
jurisdiction because ACH was not in reasonable apprehension of
the threat of an infringement suit and had not begun selling the
allegedly infringing article at the time it filed its original
Complaint. Plaintiff contends that Wiscon's July 26, 2004, e-
mail placed it in reasonable apprehension of litigation and that,
at the time it filed its Complaint, it had undertaken substantial
steps towards marketing its allegedly infringing products.

With respect to the first factor, a reasonable apprehension
exists when there is “an implied charge, or a course of conduct
on the part of the defendant which would cause a reasonable man
to fear that he or his customers face an infringement suit or
threat of one.” G. Heileman Brewing Co. v. Anheuser-Busch, lnc.,
873 F.2d 985, 990 (7th Cir. 1989}(citations and internal

quotation marks omitted). A reasonable apprehension of an

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infringement suit may be based upon the defendant's assertion of
exclusive rights against another party. ld; (citations omitted).

Having reviewed the record and the parties’ submissions, the
Court finds that Defendant's July 26, 2004, e~mail was sufficient
to place ACH in a reasonable apprehension of litigation. ln
particular, the e~mail indicates that Wiscon considered the use
of the CAPULLO DE MAZOLA trademark to amount to “blatant
gamesmanship to trade off of a highly valuable mark which our
client has prior rights to” and that “further legal action may be
undertaken if and when you begin use of any mark containing the
word CAPULLO which we consider to be conflicting with our CAPUTO
trademark.” (Def.’s Reply Mem. in Supp. of Mot. to Dismiss, Ex.
A.) These statements indicate at least an implied, if not
express, threat of a trademark infringement suit and clearly
indicate an assertion of the exclusive right to use the CAPUTO
trademark and to exclude Plaintiff’s use of the CAPULLO DE MAZOLA
mark.

Wiscon contends that the July 26, 2004, e-mail was merely
part of a settlement negotiation regarding pending matters before
the Trademark Trial and Appeal Board (“TTAB”). However, the
remarks excerpted above reference “further legal action”
independent of the TTAB proceeding. Wiscon also contends that
the e-mail was provoked by a previous e-mail from ACH requesting
Wiscon’s position regarding whether the mark CAPULLO DE MAZOLA

infringes on Wiscon's CAPUTO marks. However, Wiscon’s motivation

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for making the above statements is not relevant to the analysis ~
rather, the inquiry focuses upon whether ACH was reasonable in
perceiving the e-mail as a threat of litigation. Accordingly,
the Court finds that ACH has met its burden to prove that it had
a real and reasonable apprehension of litigation.

With respect to the second factor - that the declaratory
plaintiff must have engaged in a course of conduct which brought
it into adversarial conflict with the declaratory defendant - the
plaintiff must show that it possessed the “apparent ability and
definite intention ... to manufacture and sell a product similar
to ... defendant's....” Heileman, 873 F.2d at 990. lt is not
necessary that a declaratory judgment plaintiff engage in the
actual manufacture, use, or sale of a potentially infringing
product in order to meet its burden. Int'l Harvester, 623 F.Zd at
1215; Heilman, 873 F.2d at 990. Rather,

[t]he plaintiff's interest is sufficiently “real” where
he alleges that he is actively preparing to produce the
article in question. This is the last point before the
point of no return. Any further action on his part may
well cause him to be liable as an infringer, and the
{Declaratory Judgment] Act is designed to prevent the
necessity of acting at one's peril. By making active
preparations he has shown that he has more than a mere
speculative interest in the validity and applicability

of the [trademark]. His interest is direct, real, and
immediate, not a mere academic one.

Heilman, 873 F.2d at 990-91. (citing 6A J. Momm, Momu¥s meRAL
Pammucs ll 57.20, at 57-217). A mere desire to utilize a

potentially infringing mark, absent any action to do so, however,

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is not sufficient. wee Windsurfing, 828 F.2d at 758 (finding
second prong not satisfied and therefore no justiciable
controversy where declaratory plaintiff merely indicated a desire
to use defendant's trademark but had not taken any action to do
so).

Defendant contends that, at the time the original Complaint
was filed, Plaintiff had not yet begun to sell any potentially
infringing products and therefore cannot meet the second prong.
Plaintiff contends that it had undergone significant efforts in
preparation to market products bearing the potentially infringing
marks. Having reviewed the record and the parties’ submissions,
the Court finds that Plaintiff has presented sufficient evidence
to meet the second prong.

In particular, at the time it filed its original Complaint,
Plaintiff had prepared samples of products to be sold with the
CAPULLO DE MAZOLA mark, circulated those samples to potential
customers, and made arrangements for large shipments of canola
oil, bottles, and labels having the CAPULLO DE MAZOLA mark to be
sent to the customers to whom samples had been sent. On that
basis, the Court finds that Plaintiff had more than a mere desire
to market a potentially infringing product - rather, the evidence
demonstrates that it had actively prepared to market products
with the CAPULLO DE MAZOLA mark at the time it filed its

Complaint. Accordingly, the Court finds that Plaintiff has met

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its burden to prove that this Court has subject matter
jurisdiction over its declaratory judgment action.

B. Personal Jurisdiction and Venue

Defendant next moves to dismiss Plaintiff’s Complaint for
lack of personal jurisdiction and improper venue pursuant to Rule
12(b)(2) and 28 U.S.C. § 1391, respectively. A federal court has
personal jurisdiction over a defendant if the defendant is
amenable to service of process under the forum state’s long-arm
statute and if the exercise of personal jurisdiction would not
deny the defendant due process. Michigan Coalition of Radioactive
Material Usersl Inc. v. Griepentrog, 954 F.2d 1174, 1176 (6th
Cir. 1992). In a suit such as the instant case that alleges
federal question jurisdictionr venue is proper under § 1391 in
any judicial district in which the Defendant is properly subject

to personal jurisdiction. ee 28 U.S.C. § 1391{b) and (c).6

 

6 28 U.S.C. § 1391 provides, in relevant part:

(b) A civil action wherein jurisdiction is not founded
solely on diversity of citizenship may, except as
otherwise provided by law, be brought only in (1) a
judicial district where any defendant resides, if all
defendants reside in the same State, (2) a judicial
district in which a substantial part of the events or
omissions giving rise to the claim occurred, or a
substantial part of property that is the subject of the
action is situated, or (3) a judicial district in which
any defendant may be found, if there is no district in
which the action may otherwise be brought.
(continued...)

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In Tennessee, the long-arm statute extends the personal
jurisdiction of Tennessee courts to the limits of the Due Process
Clause. Tenn. Code Ann. § 20-2-214{a)(6)(2004); Payne v.
Motorists’ Mut. Ins. Co.'s, 4 F.3d 452, 455 (6th Cir. 1993).
Therefore, the Court need only determine whether the assertion of
personal jurisdiction over Defendant would violate the Due
Process Clause. Bridqeport Music, Inc. v. Still N the Water
Publ’g, 327 F.3d 472, 477 (6th Cir. 2003). Consistent with the
Due Process Clause, courts can “exercise personal jurisdiction
over a defendant so long as that defendant has ‘certain minimum
contacts' with the forum such that the exercise of personal
jurisdiction ‘does not offend traditional notions of fair play
and substantial justice.'” Cunp v. Alberto-Culver USA, Inc., 308
F.Supp.Zd 873, 877 (W.D. Tenn. 2004){quoting Int'l Shoe Co. v.
Washington, 326 U.S. 310, 316 (1945)}.

Personal jurisdiction may be either general or specific.
General jurisdiction arises from the Defendant's.contacts with

the forum state. “Unlike the specific jurisdiction analysis,

 

(...continued)

{c) For purposes of venue under this chapter, a
defendant that is a corporation shall be deemed to
reside in any judicial district in which it is subject
to personal jurisdiction at the time the action is
commenced.

28 U.S.C. § 1391.

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which focuses on the cause of action, the defendant and the
forum, a general jurisdiction inquiry is dispute blind ....”
Dickson Marine Inc. v. Panalpina, 179 F.3d 331, 339 (5th Cir.
l999) (citing Helicopteros Nacionales de Colombia, S.A. v. Hall,
466 U.S. 408, 414 (1984)). A defendant may be subject to
general jurisdiction only when it “has continuous and systematic
contacts with the forum state sufficient to justify the state's
exercise of judicial power with respect to any and all claims the
plaintiff may have against the defendant.” Kerry Steel, 106 F.3d
at 149 (citing Helico teros, 466 U.S. at 414-15 & nn. 8-10; Ihird
Nat’l Bank in Nashville v. WEDGE Group, lnc., 882 F.2d 1087, 1089

(6th Cir. 1989), cert. denied, 493 U.S. 1058 (1990)). “General

 

jurisdiction is proper only where ‘a defendant's contacts with
the forum state are of such a continuous and systematic nature
that the state may exercise personal jurisdiction over the
defendant even if the action is unrelated to the defendant's
contacts with the state.'” §i;d, 289 F.3d at 873 (citing H§Q§L,
882 F.2d at 1089)(emphasis added).

Specific jurisdiction, on the other hand, arises from
contacts that are related to the cause of action. With respect
to specific jurisdiction, the Sixth Circuit maintains a three-
part test to determine whether a Court can exercise jurisdiction
over a Defendant:

First, the defendant must purposefully avail himself of
the privilege of acting in the forum state or causing a

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consequence in the forum state. Second, the cause of
action must arise from the defendant's activities
there. Finally, the acts of the defendant or
consequence caused by the defendant must have a
substantial enough connection with the forum state to
make the exercise of jurisdiction over the defendant
reasonable.
Calphalon CorD. v. Rowlette, 228 F.3d 718, 721 (6th Cir.
2000)(quoting Southern Mach. Co. v. Mohasco Indus.. Inc., 401
F.2d 374, 381 (6th Cir. 1968)).
It is undisputed that Defendant has the following contacts
with the State of Tennessee: Defendant sent the July 26, 2004, e-
mail to Plaintiff in Tennessee indicating that it believed
certain uses of the CAPULLO DE MAZOLA mark may be infringing and
that it may litigate to defend its mark; Defendant has
telemarketed its products to potential customers in Tennessee
(See Appx. To Pl.'s Mem. in Supp. of its Resp. to Def.'s Mot. to
Dismiss, Exs. C(5} and D{1)); and Defendant has seven regular
customers in Tennessee that purchased over $100,000 worth of

products in 2004.7 (Dec. Of Jerry Jack, attached as Ex. D. to

Def.'s Reply Mem. in Supp. of Mot. to Dismiss.)8

 

7 It is not clear from the record before the Court how much
of these sales involved products bearing the CAPUTO mark.
However, attachments to Defendant’s memorandum in support of its
motion for summary judgment appear to indicate that the majority
of Defendant's products bear the CAPUTO mark. (See Def.’s Mem.
of Facts and Law in Supp. of Mot. to Dismiss for Lack of Jurisd.
and Venue, Ex. C.)

3 Plaintiff also contends that Defendant has “routinely
called, e-mailed, and faxed businesses in Tennessee” and that it
has “developed products specifically for Tennessee customers,

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(1) General Personal Jurisdiction

The Court first determines whether it can exercise general
jurisdiction over Defendant. The Supreme Court, in Helicopteros,
determined that the defendant, a Colombian corporation, did not
maintain sufficient contacts with Texas to allow a Texas state
court to exercise general jurisdiction over the Defendant.9
Helicopteros, 466 U.S. at 418-19. ln that case, the
corporation's contacts with Texas included the following:
negotiating a contract in Texas; accepting checks drawn on a
Texas bank; purchasing close to 80% of its fleet of helicopters
as well as other spare parts and accessories in Texas; and
sending pilots to Texas for training. ld; at 411, 416.

In the case at bar, the Court finds that the collective
group of contacts that Plaintiff alleges Defendant has with the
State of Tennessee are not so continuous and systematic as to
create general personal jurisdiction over Defendant. Although it
is undisputed that Defendant does some business with customers in

Tennessee, merely doing business with citizens of a state does

 

provided customer and technical services regarding products,
conducted credit checks, and sent product samples.” (Pl.’s Resp.
to Def.’s Mot. to Dismiss at lO.) The Court finds these asserted
contacts, however, to be subsumed by the particular contacts
described above.

9 In Helico teros, the defendant owned a helicopter which
crashed in Peru, killing four U.S. citizens, among others. 466
U.S. at 409-10. The survivors and representatives of the four
U.S. citizens brought a wrongful death action in Texas. ld; at

412.

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not confer general jurisdiction over an out-of-state defendant.
§ird, 289 F.3d at 874. Additionally, it is undisputed that
Defendant maintains no place of business, bank account, local
sales force, or local office in Tennessee.

Moreover, the United States Court of Appeals for the Sixth
Circuit has found the exercise of general jurisdiction to be
inappropriate in circumstances where a defendant's connections to
the forum state were significantly more substantial than the case

at bar. See WEDGE, 882 F.2d at 1089 (finding exercise of general

 

jurisdiction not appropriate where out-of-state defendant was the
1008 owner of a corporation that conducted business in Tennessee,
whose directors met as often as monthly in Tennessee to review
and direct the corporation’s operations; defendant was a party to
a tax sharing agreement under which defendant shared income tax
liability with subsidiary Tennessee companies; defendant officers
participated in negotiations between the plaintiff and the
corporation regarding a loan agreement, and, in conjunction with
those negotiations, deposited $7.5 million in a checking account
maintained at a bank branch in Tennessee; and defendant executed
a “Tax Receivable Agreement” in Tennessee); Nationwide Mut. Ins.
Co. v., Tvrg Intern. Ins. Co., 9l F.3d 790, 793-94 (6th Cir.
1996)(finding exercise of general jurisdiction inappropriate

where defendant had entered into several reinsurance agreements

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with in-state corporations),'10 but see Michiqan Nat. Bank v.
Quality Dinette, Inc., 888 F.2d 462, 466 (6th Cir. 1989) (finding
exercise of general jurisdiction appropriate where defendant
retained an independent sales representative in the state,
conducted mail order solicitations of Michigan businesses, made
over 400 sales totaling over $625,000 in 1986 and 1987, and made
at least one sale in Michigan each and every month for two
consecutive years).
(2) Specific Personal Jurisdiction

The Court next considers whether specific personal
jurisdiction exists over the Defendant. The first prong of the
three-part Mohasco test requires that the Court determine whether
Defendant has purposefully availed itself of the privilege of
acting in Tennessee or causing a consequence in the state.
Mohasco, 401 F.2d at 381. “The ‘purposeful availment'
requirement is satisfied when the defendant's contacts with the

forum state proximately result from actions by the defendant

 

w The United States Court of Appeals for the Fifth Circuit
came to a similar conclusion in Wilson v. Belin, 20 F.3d 644, 650
(5th Cir. 1994)(finding exercise of general jurisdiction not
appropriate where out-of-state defendant lawyer worked on
approximately one project per year for Texas law firms; gave a
legal seminar in Texas; served as a pro bono consultant to a
Texas historical society; traveled to Dallas, Texas twice; wrote
a letter to the editor of a Texas newspaper; wrote books and a
newspaper article circulated in Texas; gave interviews to Texas
reporters; visited the Texas School Book Depository; and engaged
in discussions with an investment banking firm in Texas on behalf
of a nonresident corporation in which he had an interest).

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[itself] that create a substantial connection with the forum
State, and when the defendant's conduct and connection with the
forum are such that he should reasonably anticipate being haled
into court there.” CompuServe, lnc. v. Patterson, 89 F.3d 1257,
1263 (6th Cir. 1996) (internal quotation marks omitted).

As noted above, it is undisputed that Defendant maintains no
place of business, bank account, local sales force, or local
office in Tennessee. However, the physical presence of Defendant
or its agents is not required in order for a court to find that a
defendant transacted business within a state. Mohasco, 401 F.2d
at 382 (noting that soliciting business by mail, transmission of
radio broadcasts, and sending items into the state to be sold by
independent contractors constitute the transaction of business in
the state). Here, it is undisputed that Defendant does business
with seven customers who are located in the State of Tennessee,
with total sales to those customers amounting to over $100,000 in
2004. (Dec. Of Jerry Jack, attached as Ex. D. to Def.'s Reply
Mem. in Supp. of Mot. to Dismiss.) lt is likewise undisputed
that Defendant has actively solicited business in Tennessee.
Accordingly, Defendant has purposely availed itself of the
privilege of doing business in Tennessee.

Additionally, the Court finds that Defendant intended to
cause a consequence in Tennessee by sending the July 26, 2004, e-

mail to Plaintiff. See ln-Flight Devices Corp. v. Van Dusen Air,

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lnc., 466 F.2d 220, 235 (6th Cir. 1972) (“A letter or a telephone
call may, in a given situation, be as indicative of substantial
involvement with the forum state as a personal visit by the
defendant or its agents.”) ln particular, the logically intended
consequence of that e-mail was to discourage Plaintiff, a
Tennessee corporationr from marketing products with the CAPULLO
DE MAZOLA mark in and outside of Tennessee by threatening the
possibility of trademark litigation. See Mad Hatter, lnc. v. Mad
Hatters Nioht Club Co., 399 F.Supp 889, 891-92 (E.D. Mich.
1975)(finding that defendant purposely availed itself of
privilege of conducting business in forum state by sending letter
to plaintiff claiming trademark infringement, asking for it to

cease using allegedly infringing name, and threatening suit); see

 

also B & J Mfg. Co. v. Solar lndustries, 483 F.2d 594, 598-99
(8th Cir. 1973) (finding letters threatening suit for patent
infringement were designed to reduce competition and thereby
improve sender's marketing position and, therefore, constituted
transaction of business in state to which letters were sent}.
Accordingly, the Court finds that Plaintiff has satisfied the
first prong of the Mohasco test.

The Court next determines whether Plaintiff’s cause of
action arises from Defendant's contacts with the State of
Tennessee. Here, Plaintiff's declaratory judgment action was

spurred by Defendant's July 26, 2004, e-mail, which the Court has

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found to be a basis upon which Defendant purposely availed itself
of the privilege of doing business in and causing a consequence
in Tennessee. Moreoverr Plaintiff’s action relates to
Defendant’s sale of items bearing its mark to customers in
Tennessee. Accordingly, the Court finds that Plaintiff’s cause
of action arises from Defendant’s contacts with the State of
Tennessee.

Finally, the Court must determine whether Defendant's acts
or the consequence caused by Defendant have a substantial enough
connection with the State of Tennessee to make the exercise of
jurisdiction over the defendant reasonable. Ultimately, this
determination depends upon “whether Tennessee has an interest in
resolving the conflict at issue.” Mohasco, 401 F.2d at 384.
When the first two factors in the Mohasco test have been
satisfied, however, “resolution of the third involves merely
ferreting out the unusual cases where that interest cannot be
found.” ld; Plaintiff in this action is a Tennessee corporation
that intends to market products bearing the disputed CAPULLO DE
MAZOLA mark within and outside of Tennessee. Defendant, which
sells its products to Tennessee customers under its CAPUTO
trademark that is allegedly infringed by Plaintiff’s mark, sent
an e-mail communication to Plaintiff in Tennessee noting its
intent to oppose Plaintiff's mark and apprising it of the

possibility of litigation regarding that mark. On that basis,

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the Court finds that a sufficiently substantial connection with
the State of Tennessee exists in order to make the exercise of
jurisdiction over Defendant reasonable.

ln its reply, Defendant contends that, notwithstanding the
relevant Mohasco factors, the Court should find that Defendant is
not subject to personal jurisdiction in Tennessee because
litigating in Tennessee would pose an unreasonable burden on
Defendant and the State of Tennessee does not have an interest in
having this suit litigated in Tennessee. The determination of
the reasonableness of the exercise of personal jurisdiction
depends upon an evaluation of the following factors: the burden
on the defendant, the interests of the forum State, the
plaintiff’s interest in obtaining relief, the interstate judicial
system's interest in obtaining the most efficient resolution of
controversies, and the shared interest of the several states in
furthering fundamental substantive social policies. Asahi Metal
lndustrv Co. v. Superior Court of California, Solano Countv, 480
U.S. 102, 113 (1987). Having reviewed the record and considering
all of these factors, the Court finds that the exercise of
jurisdiction over Defendant is reasonable. As noted above,
Plaintiff has shown that Defendant has sufficient contacts with
the State of Tennessee so that the exercise of personal
jurisdiction is appropriate. Although Defendant contends that it

will be an unreasonable burden to have to defend suit in

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Tennessee, the fact that it would be more convenient for
Defendant to litigate in the state of its principal place of
business does not mean that the Court’s finding of personal
jurisdiction in Tennessee is unreasonable. Moreover, the State
of Tennessee has an interest in providing a forum for a Tennessee
corporation to obtain a declaratory judgment involving products
that Defendant has contended may infringe its trademark, and
Plaintiff has an interest in obtaining that requested relief.
Finally, the Court finds that allowing the suit to proceed in
Tennessee will further the interstate judicial system's interest
in obtaining the most efficient resolution of controversies, and
the shared interest of the several states in furthering
fundamental substantive social policies.

Accordingly, the Court finds based upon the undisputed facts
noted above that Defendant is properly subject to personal
jurisdiction in Tennessee and that venue is proper pursuant to 28
U.S.C. § 1391. Defendant's motion to dismiss on the basis of
personal jurisdiction and improper venue is therefore DENlED.

C. Transfer of Vanue

ln the conclusion to its reply brief, Defendant
alternatively requests that this Court transfer this case to the
Northern District of lllinois. 28 U.S.C. § 1404(a) provides that
“[f]or the convenience of parties and witnesses, in the interest

of justice, a district court may transfer any civil action to any

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other district or division where it might have been brought.” 28
U.S.C. § 1404(a). Defendant requests a transfer to the Northern
District of lllinois because Defendant's principal place of
business is located in the Western District of lllinois and,
accordingly, relevant witnesses and documents are located in that
district.

A decision to transfer a case pursuant to § 1404(a) lies
within the discretion of the district court. Bunting ex rel. Grav
v. Gray, No. 99-1752, 2 Fed.Appx. 443, 448, 2001 WL 69347, *5
(6th Cir. Jan. 17, 2001)(citing Norwood v. Kirkpatrick, 349 U.S.
29, 31-33 (1955)). Having reviewed the record and the parties’
submissions, the Court finds that Defendant is properly subject
to personal jurisdiction in Tennessee, that venue is proper in
the Western District of Tennessee pursuant to 28 U.S.C. § 1391,
and that a transfer of venue is not required in the interests of
justice and for the convenience of parties and witnesses.
Accordingly, Defendant's request for a change of venue is DENIED.

D. Failure to State a Claim upon which Relief May be Granted

Defendant next contends that Plaintiff's claim should be
dismissed pursuant to Rule 12(b)(6} for failure to state a claim
upon which relief may be granted. ln its motion, however,
Defendant contends that it should prevail on the merits of
Plaintiff's claim for a declaratory judgment of non-infringement

of Defendant's trademarks, rather than supporting its contention

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that Plaintiff's claim should be dismissed pursuant to Rule
12(b)(6). Accepting all of the well-pled allegations in the
Complaint as true and construing the facts in the light most
favorable to Plaintiff, the Court finds that Plaintiff's
Complaint alleges sufficient facts which, if proven true, could
establish Plaintiff’s entitlement to the relief sought.
Accordingly, Defendant's motion to dismiss Plaintiff's Complaint
pursuant to Rule 12(b)(6) is DENIED.
IV. CONCLUSION

For the reasons stated, Defendant's motion to dismiss

Plaintiff’s complaint is DENIED.

So ORDERED this gca day of August, 2005.

mud

P. MCCALLA
U lTED STATES DISTRICT JUDGE

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UNDITE` STATES DITRSIC COURT - WESERN DISCTRIT oF TENNESSEE

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